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AO 245B (Rev 12/03) Judgment in a Criminal Case
         Sheet I




                                     United            St ates District COl FEB 1 2 P H I y 1 2
                                                  SOUTHERN DISTRICT OF GEORGIA
                                                       SAVANNAH DIVISION

         UNITED STATES OF AMERICA
                             V.
              Terry Lorenzo Jackso n                                         Case Number :            CR407 - 00242-00 2

                                                                             USM Number :             13258-02 1

                                                                            Jonathan J . Hunt
                                                                            Defendant's Attorney


THE DEFENDANT :
[X] pleaded guilty to Count 5 .
[ ] pleaded nolo contendere to Count ( s) _ which was accepted
        by the court.
        was found guilty on Count( s)_ after a plea of not guilty .

The defendant has been convicted of the following offense :


           Title & Section Nature of Offense Offense Ended Count

         18 U .S .C . § 924(c) Possession of firearms in furtherance of a drug February 23, 2007 5
                                  trafficking crime

       The defendant is sentenced as provided in pages 2 through 6 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

[]     The defendant has been found not guilty on count(s)_ .
[ X] Counts 1 and 4 are dismissed as to this defendant on the motion of the United States .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence , or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States a tt orney of material changes in economic circumstances .




                                                                                  February 11, 200 8




                                                                                  B . Avant Edenfield
                                                                                  United States District Judg e
                                                                                  For the Southern Distri ct of Georgia
                                                                                  Name and Title of Judg e


                                                                                  Date
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AO 245B ( Rev 12 /03) Judgment in a Cri minal Case :                                                Judgment-Page 2 of 6
         Sheet 2 - imp ri sonmen t

DEFENDANT : Terry Lorenzo Jackson
CASE NUMBER: CR407-00242-002
                                                       IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
           for a total term of. 60 months .

           The Court makes the following recommendations to the Bureau of Prisons :


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district:

           [ ] at _ [ ] a .m. [ ] p.m. o n
           [ ] as notified by the United States Marshal.

[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

           [ ] before 2 p .m. on
           [ ] as notified by the United States Marshal .
           [ ] as notified by the Probation or Pretrial Services Office .
                                                         RETURN
          I have executed this judgment as follows :




          Defendant delivered on to
at , with a certified copy of this judgment.




                                                                                      United States Marshal


                                                                            By
                                                                                   Deputy United States Marshal
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AO 245B ( Rev 12 /03) Judgment in a C ri minal Case                                                                                       Judgment- Page 3 of 6
       Sheet 3 - Supe rv ised Releas e

DEFENDANT : Terry Lorenzo Jackson
CASE NUMBER : CR407-00242-002
                                                           SUPERVISED RELEASE
Upon release fr om impri sonment, the defend ant shall be on supervised release for a term of 5 years       .


          The defendan t must repo rt to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons .

The defendant shall not commit another federal , state, or local crime .

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance . The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests therea fter, as determined by the
court .

II        The above drug testing condition is suspended , based on the court 's determination that the defendant poses a low risk of future substance abuse .
          (Check, if applicable. )

[X] The defend an t shall not possess a firearm, destructive device , or any other dangerous weapon . (Check, if applicable .)

[X] The defend an t shall cooperate in the collection of DNA as directed by the probation officer . ( Check, if applicable.)

          The defend an t shall register with the state sex offender registration agency in the state where the defend an t resides, works, or is a student, as
          directed by the probation officer . (Check, if applicable . )

          The defend an t shall participate in an approved program for domestic violence . ( Check , if applicable. )

         If this judgment imposes a fine or restitution , it is a condition of superv ised release that the defendant pay in accord ance with the Schedule of
Payments sheet of this judgment .

          The defendant must comply with the st andard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                              STANDARD CONDITIONS OF SUPERVISIO N

1) the defendan t shall not leave the judicial dist ri ct without the permission of the court or probation officer ;

2) the defendan t shall report to the probation officer and shall submit a truthful and complete written repo rt within the first five days of each month ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer ;

4) the defendant shall support his or her dependents and meet other family responsibilities ;

5) the defend an t shall work regularly at a lawful occupation unless excused by the probation officer for schooling , training, or other acceptable
       reasons ;
6) the defendan t shall notify the probation officer at least ten days prior to an y change in residence or employment ;
7) the defendant shall re fr ain from excessive use of alcohol and shall not purchase , possess , use, dist ribute, or administer any controlled substance
       or an y paraphe rn alia related to any controlled substances , except as prescribed by a physician ;

8) the defendant shall not frequent places where controlled substances are illegally sold , used, distributed, or administered ;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
       unless granted permission to do so by the probation officer ;

10) the defend ant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer ;

1 1) the defend an t shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer ;

12) the defend ant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the court;
13) as directed by the probation officer , the defend ant shall notify third parties of risks that may be occasioned by the defendant's criminal record
         or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defend ant's compliance
         with such noti fi cation requirement ; an d

14) Any possession , use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release .
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AO 245B (Rev 12/03) Judgment in a Criminal Case :                                                  Judgment-Page 4 of 6
        Sheet 3C - Supervised Releas e


DEFENDANT : Terry Lorenzo Jackson
CASE NUMBER : CR407-00242-002


                                            SPECIAL CONDITIONS OF SUPERVISION


1 . The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
        determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
        abuse .

2 . The defendant shall complete 100 hours of community service during the first 12 months of supervision .

3 . The defendant shall provide the probation officer with access to any requested financial information . The
        defendant shall not incur new credit charges or open additional lines of credit without the approval of the
        probation officer unless the defendant is in compliance with the installment payment schedule .

4. The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
       States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
       of contraband or evidence of a violation of a condition of release ; failure to submit to a search may be
       grounds for revocation . The defendant shall warn any other residents that the premises may be subject to
       searches pursuant to this condition .




                                                    ACKNOWLEDGMEN T
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them .



    (Signed)     _
      Defendant Date



                    U. S . Probation Officer/Designated Witness Date
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       Sheet 5 - Criminal Monett Penalties


DEFENDANT : Terry Lorenzo Jackson
CASE NUMBER : CR407-00242-002

                                            CRIMINAL MONETARY PENALTIE S

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .

                                                          Assessment                      Fine                  Restitutio n

 Totals :                                                         $100 $4,00 0

    The determination of restitution is deferred until , . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
        such a determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C . § 3664(i), all nonfederal
        victims must be paid before the United States is paid .


            Name of Payee Total Loss* Restitution Ordered Priority or Percentag e



               Totals :


         Restitution amount ordered pursuant to plea agreement $ -

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
         the fifteenth day after the date of judgment, pursuant to 18 U . S .C . § 3612(f). All of the payment options on Sheet 6 maybe subject
        to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g) .
[ X ] The court determined that the defendant does not have the ability to pay interest and it is ordered that :

         [X] The interest requirement is waived for the [X] fine [ ] restitution .
               The interest requirement for the [ ) fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
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        Sheet 6 - Criminal Monetary Penalties


DEFENDANT : Terry Lorenzo Jackson
CASE NUMBER: CR407-00242-002
                                                      SCHEDULE OF PAYMENT S

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows :

A [X] Lump sum payment of $ 100 due immediately, balance du e


           [ ] not later than _; o r
           [X] in accordance with [ ] C, [ ] D, E, or [X] F below ; or

B[ ] Payment to begin immediately (maybe combined with [ ] C, [ ] D, or [ ] F below) ; or

C[ ] Payment in equal ._(e .g ., weekly, monthly, quarterly) installments of Lover a period of_ (e .g ., months or years), to commence
       _ (e .g ., 30 or 60 days) after the date of this judgment ; o r

D[ ] Payment in equal - (e .g., weekly, monthly, quarterly) installments of Lover a period of _ (e .g ., months or years), to commence
       _(e.g ., 30 or 60 days) after release from imprisonment to a term of supervision ; or


E[ ] Payment during the term of supervised release will commence within - (eg ., 30 or 60 days) after release from imprisonment .
       the court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; o r

F [X] Special instructions regarding the payment of criminal monetary penalties : While in the custody of the Bureau of Prisons, the
        defendant shall make payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of
        50 percent of monthly earnings if working UNICOR . Upon release from imprisonment and while on supervised release, the
        defendant shall make minimum monthly payments of $200 over a period of 20 months . Payments are to be made payable to the
        Clerk, United States District Court .



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .

          Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate :



I         The defendant shall pay the cost of prosecution .


II        The defendant shall pay the following court cost(s) :



[ ] The defendant shall forfeit the defendant's interest in the following property to the United States :



Payments shall be applied in the following order : (1) assessment ; (2) restitution principal ; (3) restitution interest ; (4) fine principal ; (5) fine
interest ; (6) community restitution ; (7) penalties, and (8) costs, including cost of prosecution and court costs .
